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                         UNITED STATES DISTRICT COURT

                              DISTRICT OF MINNESOTA

 Twin City Carpenters Pension Master            Court File No.: 13-CV-00857 RHK/T`NL
 Trust Fund, and John Raines and Tim
 McGough, as Trustees of the Twin City
 Carpenters Pension Master Trust Fund, and
 each oftheir successors,                           PARTIAL SATISFACTION
                                                        OF JUDGMENT
        Plaintiffs/Judgment Creditors,

 v.

Scott Steffen, individually and d/b/a
Phantom Construction Services, LLC;
Phantom Construction Services, LLC; CR
Facilities   Services,  LLC;     Carver
Commercial Doors, LLC; J & J Holdings
Group,LLC; SJS Drywall,LLC;and Wyaz
Services Ltd.,
                                                         Date of Judgement: 07/24/2014
                                                          Unpaid Balance: $360,113.54
        Defendants/Judgment Debtors.




       I, Christopher L. Goodman, an attorney for Carpenters &Joiners Welfare Fund,

Twin City Carpenters Pension Master Trust Fund, Carpenters and Joiners Apprenticeship

and Journeymen Training Trust Fund, and their Trustees and each of their successors,

certify that the Judgment entered and docketed in the court in the above-entitled action on

July 24, 2014, in the principal amount of $373,593.06 has been partially satisfied in the

amount of $13,479.52, and the Court Administrator shall record the same.
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         I declare under penalty of perjury that everything I have stated in this document is

true and correct.

                                       ANDERSON,HELGEN,DAMS & CEFALU,PA

Dated: ~~~1,        ~ ~   ~.n~~ By:         ~         '~
                          ~
                          ~         Chris           oodman (#285626)
                                    Amanda R. Cefalu (#309436)
                                    333 S 7th St #310
                                    Minneapolis, MN 55402
                                    Phone: 612-435-6363
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